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           IN THE UMTED STATES DISTRICT COURT
         FOR THE MIDDLE DISTRICT OF PENNSYLVANIA


UMTED STATES OFAMERICA                   )       NO. 1:18-CR-
                                         )
           v                             )          (.1.

                                    )
PAUL NICHOI,AS,     III                  )       (Electronically Filed)
     Defendant.                          )




                            INFORMATION

THE U.S. ATTORNEY CI{ARGES:

                                COUNT        1


                    Felon in Possession of a Firearm
                           (1s u.s.c. S e2zG))

     On or about February 3, 2018, in Enola, PA, within the

Middle District of Pennsylvania, the defendant,

                          PATIL NICHOI"AS,III

having been convicted of a crime punishable by imprisonment for

a term exceeding one year did knowingly possess in and affecting

interstate commerce, firearmsi to wit:

  1) an Aero Precision, Model Xll, .223 caliber AR - type
     firearm, Serial #XO20325,loaded with 15 rounds of .223
     caliber ammunition,

   2) a Stag Arms, Model Stag'15, 5.56 NATO rifle, Serial
     #162787, and
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   3)a Sig Sauer, Model P220 Elite,.45 caliber pistol, Serial
     #374031401,

said firearms having been shipped and transported in interstate

commerce.

     All in violation of Title   18, U. S. Code, Section 922(gX1).




                                           DA\'ID J. FREED
                                           UNITED STATES ATTORNEY
                                           MIDDLE DISTRICT OF PA



                                           Kim Douglas D       I
                                           Assistant U.S. Attorney


     Date:    1   71   t(




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